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                         UNITED STATES DISTRICT COURT
                                       District of Minnesota

U.S. Equal Employment Opportunity
Commission,
                                                         JUDGMENT IN A CIVIL CASE

                          Plaintiff,
v.                                                      Case Number: 24-cv-3738 LMP/LIB
St. Cloud Area Family YMCA,

                          Defendant.
 ____________________________________________________________________________

☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

  IT IS ORDERED AND ADJUDGED THAT:

       the joint motion for entry of the consent decree (ECF No. 16) is GRANTED.



    Date: 5/7/2025                                             KATE M. FOGARTY, CLERK
